1    Anthony G. Buzbee (TX Bar No. 24001820)(Admitted Pro Hac Vice)
     tbuzbee@txattorneys.com
2    Cornelia Brandfield-Harvey (TX Bar No. 24103540)(Admitted Pro Hac Vice)
     cbrandfieldharvey@txattorneys.com
3
     THE BUZBEE LAW FIRM
4    600 Travis Street, Suite 7300, Houston, TX 77002
     Tel: (713) 223-5393
5
     Fax: (713) 522-5909
6
     Nicole C. Cusack (AK Bar No. 1511093)
7    nicole@cusacklawak.com
8    CUSACK LAW, LLC
     2665 East Tudor Road, Suite 202
9    Anchorage, AK 99507
10   Tel: (907) 903-4428
     Fax: (907) 222-5412
11
12   Charles Sturm (TX Bar No. 1511093)(Admitted Pro Hac Vice)
     csturm@sturmlegal.com
13   STURM LAW PLLC
14   712 Main Street, Suite 900
     Houston, TX 77002
15   Tel: (713) 955-1800
16
     Attorneys for Plaintiffs
17
18                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA
19
20   THERESA DUTCHUK, ANNALISA        Case No.: 3:19-cv-00136-HRH
     HEPPNER, LIZ ORTIZ, RANNA WELLS,
21   NORMA JOHNSON, AND JANE DOE VI
22                                    PLAINTIFFS’         RESPONSE    IN
               Plaintiffs,
                                      OPPOSITION        TO    DEFENDANTS
23                                    UNIVERSITY OF ALASKA BOARD
               vs.
24                                    OF REGENTS AND UNIVERSITY OF
                                      ALASKA         SYSTEM’S     PARIAL
25   DAVID YESNER, UNIVERSITY OF
                                      MOTION TO DISMISS
     ALASKA BOARD OF REGENTS AND
26   UNIVERSITY OF ALASKA SYSTEM,
27                 Defendants.
28

                                             1
     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
     REGENTSCase
              AND UNIVERSITY  OF ALASKA Document
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1     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS UNIVERSITY
         OF ALASKA BOARD OF REGENTS AND UNIVERSITY OF ALASKA
2                  SYSTEM’S PARTIAL MOTION TO DISMISS
3
           COME NOW, Plaintiffs, and file this Response in Opposition to Defendants
4
     University of Alaska Board of Regents and University of Alaska System’s (“University
5
6    of Alaska”) (“Defendants”) Partial Motion to Dismiss and would respectfully show this
7    Court the following:
8
                                 I. FACTUAL BACKGROUND
9
10         This action arises from Defendant University of Alaska’s deliberately indifferent
11   response to the severe and long running sexual harassment of graduate students by
12
     University of Alaska’s professor and supervisor, Defendant David Yesner (“Yesner”).
13
14   University of Alaska’s failure to promptly and appropriately investigate and respond to
15   the harassment subjected Plaintiffs to retaliation and a hostile environment, effectively
16
     denying them access to educational and professional opportunities. Further, University of
17
18   Alaska’s employee, Defendant Yesner retaliated against Plaintiffs for denying Defendant

19   Yesner’s sexual advances, which University of Alaska failed to prevent or take action
20
     against even after the Plaintiffs complained of Defendant Yesner’s behavior and notified
21
22   University of Alaska, once the actions had started. This malicious and intentional conduct

23   has subjected Plaintiffs to significant and pervasive reputational damage and emotional
24
     distress, destroying their careers and causing significant damage to their mental health.
25
     Their lives have been forever changed by Defendants’ actions.
26
27
28

                                                 2
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1                                     II. STANDARD OF REVIEW

2           A 12(b)(6) motion should not be granted “unless it appears beyond a doubt that the
3
     plaintiff can prove no set of facts in support of his claim which entitle him to relief.”
4
     Conley v. Gibson, 355 U.S. 41, 44-46 (1957). The question before the Court in examining
5
6    a 12(b)(6) motion is whether the plaintiff’s complaint states any valid claim for relief. Id.
7    Since federal courts simply require “notice pleading,” the Court construes a plaintiff’s
8
     pleading liberally, and lack of detail does not constitute a sufficient ground to dismiss a
9
10   complaint under Rule 12(b)(6). Strauss v. City of Chicago, 760 F.2d 765, 767 (7th Cir. 11
11   1985). To survive a challenge under Alaska R. Civ. P. 12(b)(6), it is enough that the
12
     complaint sets forth allegations of fact consistent with and appropriate to some
13
14   enforceable cause of action. Kollodge v. State, 757 P.2d 1024 (Alaska 1988). A motion
15   to dismiss under rule 12(b)(6) is “viewed with disfavor and is rarely granted.” Id.
16
     The strict standard of review under rule 12(b)(6) has been summarized as follows: “The
17
18   question therefore is whether in the light most favorable to the plaintiff and with every

19   doubt resolved in his behalf, the complaint states any valid claim for relief.” CHARLES
20
     A. WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND 18 PROCEDURE
21
22   § 1357, at 601 (1969); Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th 19

23   Cir. 2000). When attacked pursuant to Rule 12(b)(6), well-pled allegations in a complaint
24
     must be treated as true, and all reasonable inferences drawn in the plaintiff’s favor.
25
     Christie v. Standard Ins. Co., No. C 02-02520 WHA, 2002 U.S. Dist. LEXIS 22062 at *5
26
27   (N.D. Cal. July 19, 2002).
28

                                                  3
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1               Defendants’ Motion is untimely and improper under the Federal Rules of

2    Civil Procedure and must be denied on these bases alone as demonstrated herein.
3
                Regardless, Plaintiffs Theresa Dutchuk, Joanna Wells, Norma Johnson and Jane
4
     Doe VI have more than stated a valid claim for relief and therefore Defendants University
5
6    of Alaska Board of Regents and University of Alaska System’s Partial Motion to Dismiss
7    should be denied in its entirety.
8
                                      III. ARGUMENT AND AUTHORITIES
9
10              Defendants’ Motion is untimely as it was filed more than 14 days after Plaintiffs’
11   Second Amended Petition. Additionally, Defendants’ Motion is improper under the
12
     Federal Rules of Civil Procedure as Defendants previously filed a Motion to Dismiss in
13
14   June 2019 that could have addressed the Title IX claims but did not do so. Therefore,
15   Defendants’ arguments are waived. For these reasons alone, Defendants’ Motion must be
16
     denied.
17
18              While there is technically no official statute of limitations for sexual harassment

19   claims, the Ninth Circuit has categorized sexual harassment as personal injury which
20
     carries a two-year statute of limitations deadline in Alaska. However, civil claims for
21
22   other sexual offenses in Alaska carry longer statute of limitations with felony sexual

23   assault having no time limit at all.1
24
                Plaintiff Jane Doe VI stated in the latest Complaint that Yesner engaged in sexual
25
     contact without her consent that was coerced by force which constitutes felony sexual
26
27   assault under Alaska law. Therefore, contrary to Defendants’ argument, there is NO
28
     1
         Alaska Stat. § 9.10.065(a)(2).

                                                     4
     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
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1    statute of limitations deadline for Plaintiff Jane Doe VI’s claim of assault and her claims

2    are not time-barred. Regardless, Jane Doe VI did not realize she had been sexually
3
     assaulted at the time due to Defendants’ fraudulent concealment and discovery rule,
4
     tolling the statute of limitations.
5
6           As for the other sexual harassment claims that do not fall under assault, if the
7    claims are found to be time-barred, Alaska has recognized exceptions to toll the statute of
8
     limitations such as the fraudulent concealment, equitable tolling and/or the discovery rule
9
10   discussed herein. Alaska has recognized the severity of these claims and has recognized
11   that the injured person in a sexual offense case can take longer to recognize he/she
12
     actually has an injury due to certain circumstances such as these claims being
13
14   fraudulently concealed by the Defendants so the victim is dissuaded from bringing a
15   claim or is forced into thinking she does not have a claim.
16
            Because Plaintiff Jane Doe VI’s claims are not time-barred since felony sexual
17
18   assault has no statute of limitations deadline in Alaska and the sexual harassment claims

19   will be shown to fall under certain exceptions so as to toll the deadline as discussed
20
     below, Defendants’ Motion must be denied.
21
22   A.     There is NO Statute of Limitations Deadline to File a Felony Sexual Assault
            Claim in Alaska.
23
24          Under Alaska law, there is no time limit for filing a felony sexual assault claim.

25   Alaska Stat. § 9.10.065. Commencement of actions for acts constituting sexual offenses.
26
27          (a) A person may bring an action at any time for conduct that would have, at the
                time the conduct occurred, violated provisions of any of the following
28
                offenses:
                                                  5
     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS UNIVERSITY OF ALASKA BOARD OF
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1
               ...
2
               (2) felony sexual assault.
3
4    Id.
5
6          Plaintiff Jane Doe VI’s claims would fall under sexual assault in the second
7    degree.
8
           Alaska Stat. § 11.41.420 Sexual assault in the second degree.
9
10         (a) An offender commits the crime of sexual assault in the second-degree if
11             (1) The offender engaged in sexual contact with another person without
12                 consent of that person.
13   Id.
14
           Sexual contact is defined as such:
15
16         Alaska Stat. § 11.81.900. Definitions.

17         (60)” sexual contact” means
18                (A) the defendant’s
                  (i) knowingly touching, directly or through clothing, the victim’s genitals,
19                anus, or female breast
20
     Id.
21
22         “[W]ithout consent’ means that a person . . . with or without resisting, is coerced

23   by the use of force against a person or property, or by the express or implied threat of
24
     death, imminent physical injury, or kidnapping to be inflicted on anyone[.]” AS
25
     11.41.470(8)(A). “[T]he phrase ‘without consent’ refers to a particular type of unwanted
26
27   sexual activity: unwanted sexual activity that is coerced by force or the threat of force.”
28
     Inga v. State, 440 P.3d 345, 349 (Alaska Ct. App. 2019).
                                                 6
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1           Plaintiff Jane Doe VI stated in the latest Complaint that Yesner engaged in sexual

2    contact with her without her consent coerced by force which constitutes felony sexual
3
     assault under Alaska law. As Plaintiff alleged, Defendant Yeser would come from behind
4
     her, placing his hands on her shoulders, running them down her back and fondling her
5
6    hips and buttocks and fondle her breasts. In another incident, while Plaintiff was in the
7    shower, Defendant entered the shower and rubbed his body including his penis against
8
     Plaintiff. He then got down on his knees and placed his mouth on Plaintiff’s vagina in an
9
10   attempt to give her oral stimulation. He was knowingly touching Plaintiff’s genitals and
11   forcing himself on her. Plaintiff was fearful of what Yesner might do as they were
12
     isolated away from everyone else in a remote location with limited access to outside
13
14   communication.
15          Therefore, contrary to Defendants’ argument, there is NO statute of limitations
16
     deadline for Plaintiff Jane Doe VI’s claim of assault and her claims are not time-barred.
17
18   Defendants’ Motion should be denied.

19   B.     Fraudulent Concealment and Equitable Tolling.
20
            Plaintiffs’ claims are not barred by the statute of limitations because of the
21
22   doctrine of fraudulent concealment and equitable tolling. Defendants fraudulently

23   concealed David Yesner’s misconduct from Plaintiffs. Defendants made representations
24
     to Plaintiffs that were deeply misleading.
25
            A party who fraudulently conceals from a plaintiff the existence of a cause of
26
27   action may be estopped to plead the statute of limitation if the plaintiff’s delay in
28
     bringing suit is occasioned by reliance on the false or fraudulent representation. Sharrow
                                                  7
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1    v. Archer, 658 P.2d 1331, 1333 (Alaska 1983); Chiei v. Stern, 561 P.2d 1216, 1217

2    (Alaska 1977). Representations may closely resemble traditional fraud and, therefore, can
3
     easily be viewed as providing grounds for application of the fraudulent concealment
4
     doctrine.2 In evaluating a claim that the defendant’s representations deterred or deferred
5
6    investigation of the claim, courts normally toll the statute of limitations if the plaintiff’s
7    reliance on the defendant’s representations was reasonable.3 This approach is consistent
8
     with the policies underlying limitations because it identifies conduct of the defendant that
9
10   justifies depriving him of the protection of limitations.4 Courts typically find that the
11   defendant’s representations constitute concealment when the defendant obscures its
12
     wrongful conduct by providing an innocent explanation for unfavorable developments.
13
14   See Mt. Hood Stages v. Greyhound Corp., 555 F.2d 687 (9th Cir. 1977), rev’d on other
15   grounds, 437 U.S. 322 (1978).             Here, in this case, Defendants did exactly that.
16
     Defendants obscured Yesner’s wrongful conduct by providing innocent explanations
17
18   such as “that’s just Yesner being Yesner”, or “do not believe the stories,” or “that’s just

19   Dave being Dave” as demonstrated herein.                   Plaintiffs relied on those innocent
20
     explanations and Plaintiffs’ reliance on those explanations was reasonable as they had
21
22   every reason to trust their University superiors and counselors.

23          Upon information and belief, all Defendants had (1) actual knowledge that a
24
     wrong occurred, (2) a duty to disclose the wrong, and (3) a fixed purpose to conceal the
25
     wrong. University of Alaska had knowledge of Yesner’s behavior since the 1980s but
26
27   2  Richard L. Marcus, Fraudulent Concealment in Federal Court: Toward a More Disparate Standard? 71 Geo.
     L.J. 829 (1983).
28   3
       Id.
     4
       Id.

                                                        8
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1    failed to inform Plaintiffs of the allegations against Yesner. Had Defendants complied

2    with their duties, Plaintiffs would have been aware of the facts, conditions, or
3
     circumstances which would have led to the discovery of a concealed cause of action. In
4
     this case, the University of Alaska and its Board of Regents represented to Plaintiffs and
5
6    to the public that Defendant Yesner was a competent, ethical and safe professor.
7    Defendants had knowledge of Yesner’s misconduct for years and yet chose to conceal
8
     this behavior from the Plaintiffs and other students. Professor Yesner should have been
9
10   terminated way before Plaintiffs’ time but regardless the University should have put
11   students on alert that Professor Yesner had complaints of sexual misconduct against him.
12
     Instead, Defendants kept Plaintiffs in the dark on purpose.
13
14          Until University of Alaska actually started to seriously investigate sexual
15   harassment claims of David Yesner in December 2017, Plaintiffs had no way of truly
16
     knowing about Yesner’s conduct until years later. The University had finally deemed his
17
18   behavior as wrong and deemed his behavior as sexual harassment and abuse. March 2019

19   is when the independent law offices hired to conduct this report made their official
20
     findings that Plaintiffs had been sexually harassed and abused by Yesner at University of
21
22   Alaska. As stated in the Complaint, Plaintiffs were constantly discouraged from taking

23   further action on their claims by the University. When Plaintiffs made initial reports, they
24
     were met with apathy, being told by those in positions of authority to “cover up more” or
25
     “switch advisors” or “that’s just Yesner” or “do not believe the stories”. When Plaintiff
26
27   Wells relayed her concerns regarding Yesner to her University of Alaska counselor, the
28
     counselor, the one person with whom she put so much trust, told her that her concerns
                                                  9
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 1   were completely unfounded. He told her that her mental issues were related to something

 2   else, protecting the University’s interests. When Plaintiff Jane Doe VI’s friend reported
 3
     Jane Doe VI’s sexual assault to the Department Chair at the time, his response to her was
 4
     “That’s your story. I bet Yesner has something else he would say.” The environment in
 5
 6   the Anthropology department regarding Yesner’s behavior was one of tolerance. The
 7   phrase “that’s just Dave being Dave” was cited to Jane Doe VI over and over and over
 8
     again. They were reassured that there was no danger. They relied on these assurances to
 9
10   their detriment.
11          Because the statute of limitations on Plaintiffs’ claims are tolled by fraudulent
12
     concealment and equitable estoppel, Defendants’ Motion should be denied.
13
14 C.       Defendant’s Motion is Improper under Fed. R. Civ. P. 12(g).
15          Defendants’ Motion must be denied as it is improper under Fed. R. Civ. P. 12(g).
16
            Rule 12(g) of the Federal Rules of Civil Procedure provides as follows:
17
18          (2) Limitation on Further Motions. Except as provided in Rule 12(h)(2) or (3), a
            party that makes a motion under this rule must not make another motion
19          under this rule raising a defense or objection that was available to the party
20          but omitted from its earlier motion.

21   Id.
22
             Generally speaking, defendants must raise all defenses at the first opportunity and
23
24   may not bring successive motions to dismiss. See Wafra Leasing Corp. 1999-A-1 v.

25   Prime Capital Corp., 247 F.Supp.2d 987, 999 (N.D. Ill. 2002). Rule 12(g) precludes a
26
     defendant from bringing successive motions to dismiss raising arguments that the
27
28

                                                 10
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1    defendant failed to raise at the first available opportunity. Id.; see also Albany Insc. Co. v.

2    Almacenadora Somex, 5. F.3d 907, 909 (5th Cir. 1993).
3
                Save for Jane Doe VI’s claims which were added in the First Amended
4
     Complaint5, all of Defendants’ arguments are addressed to allegations and claims that
5
6    were included in Plaintiffs’ original complaint and therefore could have been raised in
7    Defendants’ previous motion to dismiss. Defendants filed a partial Motion to Dismiss to
8
     Plaintiff’s original Complaint back in June 11, 2019 (Dkt. No. 13), seeking to dismiss
9
10   only claims 4-8. Defendants could have raised the statute of limitations defense to the
11   Title IX claims (claims 1-3) in the previous motion to dismiss but omitted this defense
12
     from such motion.
13
14               Under Rule 12(g), defendants may not “assert the 12(b)(6) defense by a
15   second pre-answer motion” because Rule 12(g) expressly precludes the defendants
16
     from doing so. Wright & Miller, §1392. “The filing of an amended complaint will
17
18   not revive the right to present by motion defenses that were available but were not

19   asserted in timely fashion prior to amendment.” Wright & Miller § 1388. See also
20
     Harris Bank v. Pachaly, 902 F.Supp. 156 (N.D. Ill 1995); Dee-K Enterprises, Inc. v.
21
22   Heveafil Sdn. Bhd., 985 F. Supp. 640, 642 n.2 (D. Va. 1997). The Court’s ruling in

23   Sourovelis v. City of Phila. is also instructive. There the Court denied Defendant City of
24
     Philadelphia’s Motion to Dismiss Plaintiff’s First Amended Complaint when Defendant
25
     filed a successive motion to dismiss with arguments that could have been raised in their
26
27
     5
       Even so, Jane Doe VI’s claims would relate back to the date of the original pleading as the amendment asserted a
28   claim that arose out of the same conduct, transaction, or occurrence set out—or attempted to be set out—in the
     original pleading. See Fed. R. Civ. P. 15(c)(1)(B).

                                                            11
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 1   original motion to dismiss. 246 F. Supp. 3d 1058, 1077-78 (E.D. Pa. 2017). “While the

 2   City Defendants make new arguments in the instant motion that Defendants did not make
 3
     in their Motion to Dismiss the First Amended Complaint, none of those arguments relate
 4
     to the only new material…instead the City Defendants’ arguments in the instant motion
 5
 6   relate solely to the allegations that appeared in the First Amended Complaint. The City
 7   Defendants could (and should have) made those arguments in their previous motion to
 8
     dismiss.” Id.
 9
10            Furthermore, Rule 12(h)(2) cannot save Defendants according to the Court.
11   “The procedural bar of Rule 12(g)(2)…covers all motions to dismiss for failure to state a
12
     claim, regardless of the grounds asserted.” Id. at 1078; Leyse v. Bank of Am. Nat’l Ass’n,
13
14   804 F.3d 316, 321 (3d Cir. 2015). A successive motion to dismiss filed under Rule
15   12(b)(6) is “plainly neither a Rule 7(a) pleading nor a motion raised at trial,” nor is it a
16
     Rule12 (c) motion. Id. As a result, no exception to Rule 12(h)(2) covers a successive
17
18   motion to dismiss, and it is “improper” for a district court to consider such a motion. Id.

19            Plaintiffs have been unduly prejudiced. Because Defendants did not raise before
20
     the arguments they make now regarding Counts 1, 2 and 3, Defendants are now
21
22   precluded from raising these arguments in their second motion to dismiss. Accordingly,

23   Defendants’ motion to dismiss counts one, two and three of the Second Amended
24
     Complaint must be denied.
25
26 D.       Defendants’ Motion to Dismiss Should be Denied Because it is Untimely.

27          Defendants’ motion is untimely and should be denied on that independent basis.
28
     Even where no responsive pleading has been filed, Courts have held that a motion to
                                                  12
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1    dismiss is untimely if filed and served after the 21-day period permitted for a responsive

2    pleading under Fed. R. Civ. P. 12(a)(1)(A). See Nowak v. Lexington Ins. Co., 464 F.
3
     Supp. 2d 1248, 1249 (S.D. Fla. 2006)(holding “that the Motion to Dismiss was untimely
4
     filed more than twenty days after the Complaint was served on Defendant…”); Suntrust
5
6    Bank v. O’Brien, No. 3:09CV85/RV/EMT, 2009 WL 1393439, at *2 (N.D. Fla. May 18,
7    2009)(dismissing defendant’s Rule 12(b) motion as untimely because it was filed twenty-
8
     eight days “after the time for filing an answer had expired.”); United States v.
9
10   FloridaUCCInc., No. 4:09-cv-46, 2009 WL 1971428, at *8 (N.D. Fla. July 3, 2009)
11   (denying defendant’s Rule 12(b) motion because “motion was filed well beyond the 20
12
     day time period.”). Here, Defendants’ Motion to Dismiss is untimely as it was filed after
13
14   the 14-day period for responding to an amended complaint and after the 21-day period for
15   responding to Plaintiff’s original complaint. See Fed. R. Civ. P. 15. Therefore,
16
     Defendants’ Motion should be denied. The Federal Rule of Civil Procedure 12(a) states
17
18   as follows:

19          (a) TIME TO SERVE A RESPONSIVE PLEADING.
20            (1) In General. Unless another time is specified by this rule or a federal statute,
              the time for serving a responsive pleading is as follows:
21                 (A) A defendant must serve an answer:
22                 (i) within 21 days after being served with the summons and complaint;

23          Here, the time to respond is even shorter, given that Plaintiffs filed an amended
24
     complaint and to which Defendants have responded with a motion to dismiss. Federal
25
     Rule of Civil Procedure 15(a)(3) states:
26
27          (3) Time to Respond. Unless the court orders otherwise, any required response to
            an amended pleading must be made within the time remaining to respond to the
28

                                                  13
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1           original pleading or within 14 days after service of the amended pleading,
            whichever is later.
2
     Fed. R. Civ. P. 15(a)(3).
3
4            Plaintiffs filed their Second Amended Complaint on November 14, 2019.
5
     Defendants did not file their Motion to Dismiss to the Second Amended Complaint until
6
     over a month later on December 20, 2019, in violation of the rules, past the 14-day
7
8    deadline and even the 21-day deadline. The deadline to file a response had well passed.
9    The deadline was November 28, 2019, fourteen days after service of the Second
10
     Amended Complaint. Plaintiffs had not given Defendants an extension nor had
11
12   Defendants asked for an extension to respond past the deadline. Courts have denied
13   Motions to Dismiss for untimeliness and this Court should do the same.
14
             For the reasons stated above, Defendants’ Motion must be denied.
15
16   E.     Discovery Rule.

17          Alaska is one of many states that has adopted the discovery rule to toll the statute
18
     of limitations. The issue of statute of limitations is a question of fact for the jury. See
19
20   John’s Heating Serv. v. Lamb, 46 P.3d 1024, 1033 (Alaska 2002).

21          Where an element of a cause of action is not immediately apparent, the discovery
22
     rule provides the test for the date on which the statute of limitations begins to run. Id. at
23
24   1031. The statute of limitations does not begin to run until the claimant discovers, or

25   reasonably should have discovered, the existence of all elements essential to the cause of
26
     action. Id. Thus, the relevant inquiry is the date when the claimant reasonably should
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     have known of the facts supporting her cause of action. Id. An appellate court looks to the
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1    date when a reasonable person has enough information to alert that person that he or she

2    has a potential cause of action or should begin an inquiry to protect his or her rights. Id.
3
     When the injury is not apparent at the time of the negligent act, the discovery rule
4
     applies. Id. Under the discovery rule there are two possible dates on which the statute of
5
6    limitations can begin to run and, in some cases, a third part to the discovery rule comes
7    into play. The first potential date is the date when the plaintiff reasonably should have
8
     discovered the existence of all essential elements of the cause of action. The second
9
10   potential accrual date is the date when the plaintiff has information which is sufficient to
11   alert a reasonable person to begin an inquiry to protect his rights. These dates are
12
     different, since the point when the elements of a cause of action are discovered may come
13
14   after and as a result of a reasonable inquiry. The third part of the discovery rule comes
15   into play where a person makes a reasonable inquiry which does not reveal the elements
16
     of the cause of action within the statutory period at a point where there remains a
17
18   reasonable time within which to file suit. In those circumstances, the limitations period is

19   tolled until a reasonable person discovers actual knowledge of, or would again be
20
     prompted to inquire into, the cause of action. Id.
21
22          Complainants, including Plaintiffs, started sending letters to Chancellor Gingerich

23   in December 2017 regarding Professor Yesner’s behavior in order to prevent him from
24
     being awarded emeritus status. Theresa Dutchuk was interviewed by Title IX investigator
25
     in December 20, 2017 regarding these complaints and her own experiences. Ms. Dutchuk
26
27   did not realize she had been sexually harassed until the findings contained within the
28
     Title IX investigative report were finally released by the University in March 2019.
                                                  15
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1    Therefore, the earliest possible date on which Plaintiff Dutchuk knew or had reason to

2    know of Defendant Yesner’s misconduct was in March of 2019. Therefore, March of
3
     2019 was the earliest date that Plaintiff knew or by exercising reasonable diligence
4
     should have known of the facts given rise to her claim according to her.
5
6           Furthermore, Ms. Dutchuk was not even made aware of the sexually suggestive
7    photographs taken by Yesner until March 15, 2019 when the investigative report was
8
     released to Plaintiffs by the University as stated in the Complaint and it was revealed that
9
10   Yesner’s computer hard drive had been searched. The Court made this point in its
11   previous Order on Motions to Dismiss that the statute of limitations was tolled as it
12
     pertained to the discovery of the sexually suggestive photographs.6 Therefore, she could
13
14   not possibly have known she had a claim when she did not even know there was any
15   wrongdoing initially. For this reason, the discovery rule most certaintly applies to
16
     Plaintiff Dutchuk and her claims should survive statute of limitations deadline. Ms.
17
18   Dutchuk did not make a formal report to Chancellor Gingerich because she did not even

19   realize that Yesner’s behavior was considered sexual harassment. In fact, Ms. Dutchuk
20
     stated in the University investigation report that she believes her decision to quit graduate
21
22   school was not premised on sexual harassment or sexual discrimination. The University’s

23   report found she was sexually harassed. It has taken Ms. Dutchuk a long time to come to
24
     terms with the fact that she was sexually harassed and indeed suffered an injury. At the
25
     time, Ms. Dutchuk believed Yesner was acting odd and weird. When Ms. Dutchuk did
26
27   report Yesner in 2016 to the Dean, it was only in the form of bizarre conduct towards her
28   6
       See (Dkt No. 32) Order Motions to Dismiss; Motion to Amend; Motion to Preclude Use of “Jane Doe”
     Pseudonyms, p. 21.

                                                    16
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1    and retaliation. Sexual harassment was not discussed. Only now has she realized that the

2    bizarre conduct was sexual harassment. And when she did in fact report Yesner to
3
     University’s dean, she was merely told to “switch advisors.” No one told her that she had
4
     been sexually harassed. No one made her aware she had been sexually harassed by her
5
6    professor. She now realizes that she has been injured.
7           Plaintiff Wells did not realize she had been sexually harassed until late 2017. It
8
     was only after years of professional counseling, discussions with friends and her partner
9
10   who told her that this was not normal or acceptable behavior that Plaintiff Wells knew
11   she had been injured. Additionally, she was dissuaded and misled by the university in the
12
     interim. Plaintiff Norma Johnson dismissed Yesner’s behavior towards her as a drunken
13
14   mistake as she has alcoholic members in her family. She did not know she was injured.
15   With therapy and other influences, she now realizes she was harassed. Even though there
16
     is no statute of limitations for felony sexual assault, Plaintiff Jane Doe VI did not realize
17
18   she had been sexually assaulted until many years later. Through many years of intense

19   therapy, she has come to realize that what happened to her was assault. Many of the
20
     Plaintiffs did not realize that Yesner’s behavior was actually defined as sexual
21
22   harassment until December 2017 when they officially reported the abuse to Chancellor

23   Gingerich and then were contacted by Title IX investigators from the Office of Equity
24
     and Compliance to further investigate the claims. Plaintiffs were never made aware of the
25
     Office of Equity and Compliance as the system was a complete mess. Plaintiffs were
26
27   never made aware of the resources available to them for sexual harassment claims during
28
     their time on campus. Whenever Plaintiffs did inquire about their claims by reporting
                                                  17
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1    Yesner’s conduct, they were intentionally led astray and dissuaded from investigating

2    further and pursuing their claims. They were led to believe they had no claims at all as
3
     the University wanted to protect its reputation and bury the claims so as not to cause
4
     embarrassment. Plaintiffs thought that Yesner’s behavior was something they had to
5
6    endure as just odd and quirky behavior. They did not know they had suffered any type of
7    injury.
8
               It is only now through years of therapy and counseling and other factors that
9
10   Plaintiffs realize they were sexually harassed and what happened to them was wrong.
11             Because of the discovery rule, the earliest date that Plaintiffs knew or by
12
     exercising reasonable diligence should have known of the facts giving rise to their claims
13
14   was late 2017 and 2019. Plaintiffs’ claims are tolled by the discovery rule. Defendants’
15   Motion should be denied.
16
                            IV.   CONCLUSION AND PRAYER
17
18             For the reasons states above, Defendants’ Motion to Dismiss should be denied in

19   its entirety. In the alternative, Plaintiffs respectfully ask that Plaintiffs be afforded the
20
     opportunity to amend their pleading if the Court so orders. Plaintiffs seek all other relief
21
22   to which they may be entitled.

23
24
     DATED: January 10, 2020
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1                                                 Respectfully submitted,
2
                                                  By: /s/ Cornelia Brandfield-Harvey
3                                                 Anthony G. Buzbee
                                                  (Admitted Pro Hac Vice)
4
                                                  Attorney in Charge
5                                                 Texas Bar No. 24001820
                                                  Federal Bar No. 22679
6
                                                  Cornelia Brandfield-Harvey
7                                                 (Admitted Pro Hac Vice)
                                                  Texas Bar No. 24103540
8                                                 Federal Bar No. 3323190
9                                                 THE BUZBEE LAW FIRM
                                                  600 Travis Street, Suite 7300
10                                                Houston, Texas 77002
11                                                Tel: (713) 223-5393
                                                  Fax: (713) 522-5909
12
13                                                Nicole C. Cusack (AK Bar No. 1511093)
                                                  CUSACK LAW, LLC
14                                                2665 East Tudor Road, Suite 202
15                                                Anchorage, AK 99507
                                                  Tel: (907) 903-4428
16
17                                                Charles Sturm
                                                  (Admitted Pro Hac Vice)
18                                                STURM LAW PLLC
19                                                Texas Bar No. 1511093
                                                  Federal Bar No. 21777
20                                                712 Main Street, Suite 900
21                                                Houston, Texas 77002
                                                  Tel: (713) 955-1800
22
23                                                ATTORNEYS FOR PLAINTIFFS

24
25
26
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1                                  CERTIFICATE OF SERVICE

2           I hereby certify that on January 10, 2020 I filed a true and correct copy of the
     foregoing document with the Clerk of the Court for the United States District Court –
3
     District of Alaska by using the CM/ECF system. Participants in Case No. 3:19-cv-00136-
4    HRH who are registered CM/ECF users will be served by the CM/ECF system.
5
                                                    /s/ Cornelia Brandfield-Harvey
6                                                   Cornelia Brandfield-Harvey
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